                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


Antoinette Lavern and Tracy Kramer, on         )
behalf of themselves and all other             )
similarly situated individuals,                )
                                               )       Case No. 3:15-cv-01111
               Plaintiffs,                     )
                                                       Judge Waverly Crenshaw
                                               )
       v.                                      )       Mag. Judge Barbara D. Holmes
                                               )
Asurion Insurance Services, Inc. and           )
Asurion Services, LLC,                         )
                                               )
               Defendants.
                                               )

               ORDER GRANTING APPROVAL OF FLSA SETTLEMENT

       WHEREAS:

       A.      On October 4, 2016, Named Plaintiff Tracy Kramer, Opt-In Plaintiff LaSere Reid-

Smith, and Opt-In Plaintiff Teinna Dukes (collectively, “Plaintiffs”) and Defendants Asurion

Insurance Services, Inc. and Asurion Services, LLC, by their respective counsel of record,

moved this Court for approval of the Parties’ Joint Stipulation of Settlement and each individual

Plaintiff’s Settlement Agreement (“Agreements”); and

       B.      This Court has duly considered the representations of counsel and all of the

submissions presented with respect to the Agreements addressing the Plaintiffs’ individual

claims, the collective claims asserted in this matter under the Fair Labor Standards Act

(“FLSA”), and the Rule 23 class claims asserted in this Action under various state laws.

       NOW THEREFORE, after due deliberation, this Court hereby ORDERS that:

       1.      The Agreements are fair, reasonable and adequate; are in the best interests of

Plaintiffs; and are hereby approved, in light of the benefits to Plaintiffs accruing from the

settlement of this Litigation, the substantial investigation conducted by Plaintiffs’ counsel prior

to the proposed Agreement, and the complexity, expense, risks and probable protracted duration

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    Case 3:15-cv-01111 Document 87 Filed 10/04/16 Page 1 of 2 PageID #: 883
of further litigation.

        2.      The Court approves the Joint Stipulation of Settlement, as well as the Agreements

for each Plaintiff.

        3.      Plaintiffs shall be permanently barred from commencing, prosecuting, or

otherwise maintaining in any court or forum any action against the Released Parties regarding

any and all claims released in their respective Agreement.

        4.      Plaintiffs’ Counsel’s application for an award of attorneys’ fees and

reimbursement of costs as set forth in each of the Agreements is hereby approved. Accordingly,

Defendants will pay Plaintiffs’ Counsel’s fees and costs, as provided in the Joint Stipulation of

Settlement and according to the individual allocations set forth in the Agreements.




                                         ___________________________________________
                                         Waverly D. Crenshaw, Jr.
                                         United States District Court Judge




                                                2

    Case 3:15-cv-01111 Document 87 Filed 10/04/16 Page 2 of 2 PageID #: 884
